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Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA )
)
vs. ) Criminal Case No.: 17-CR-201~1
)
PAUL J. MANAFORT, JR. § F I L E D
) sEP 14 2018
Clerk, U.S. District & Bankruptcy
WAlVER ()F INDICTMENT Courts for the District of Co|umbia
l, PAUL J' MANAFORT’ JR' , the above-named defendant, Who is accused of

 

18:371 and 3551 et seq.; Conspiracy Against the United States.

18:371 and 3551 et seq.; Conspiracy to Obstruct Justice.

being advised of the nature of the charge(s), the proposed information, and of my rights, hereby

waive in open court on September 14, 2018 prosecution by indictment and consent that

 

the proceeding may be by information rather than by indictment
/W 47’//¢"//

Det`endan( /

Couh§él for Defcndq(

 

Before; Date: 9/14/2018

'A'\lny Ben?lla\°r-}a€k/son

United States District Judge

 

 

